Case 21-30085-hdh11 Doc 342-5 Filed 03/11/21   Entered 03/11/21 10:23:18   Page 1 of 5




                             EXHIBIT E
       Case 21-30085-hdh11 Doc 342-5 Filed 03/11/21                  Entered 03/11/21 10:23:18          Page 2 of 5


Gabby Hamm

From:                   Connell, Monica <Monica.Connell@ag.ny.gov>
Sent:                   Wednesday, March 10, 2021 6:02 PM
To:                     Gabby Hamm; gpronske@spencerfane.com; ericvanhorn@spencerfane.com;
                        jkathman@spencerfane.com
Cc:                     Gregory Garman; Sheehan, James; Stern, Emily; Thompson, Stephen; gruber.mike@dorsey.com;
                        acosta.joseph@dorsey.com; mason.brian@dorsey.com; Strubeck, Louis; Gluck, Kristian W.; Drake,
                        Scott; Smith, Laura; Hendrix, Nick; Pat Neligan; sbr@BrewerAttorneys.com; William Noall; Talitha
                        Gray; Teresa Pilatowicz; Dylan Ciciliano; Conley, Jonathan
Subject:                RE: NRA: Phillip Journey Deposition
Attachments:            2021-3-10 Greg Garman re Journey Dep FINAL.pdf


Counsel,

Please see the attached letter regarding the response to the Debtors’ objection. I believe we have sent an invitation for
a meet and confer at 8:15 CST.

Monica Connell

From: Gabby Hamm <ghamm@Gtg.legal>
Sent: Wednesday, March 10, 2021 7:37 PM
To: gpronske@spencerfane.com; ericvanhorn@spencerfane.com; jkathman@spencerfane.com
Cc: Gregory Garman <Ggarman@Gtg.legal>; Sheehan, James <James.Sheehan@ag.ny.gov>; Stern, Emily
<Emily.Stern@ag.ny.gov>; Connell, Monica <Monica.Connell@ag.ny.gov>; Thompson, Stephen
<Stephen.Thompson@ag.ny.gov>; gruber.mike@dorsey.com; acosta.joseph@dorsey.com; mason.brian@dorsey.com;
Strubeck, Louis <louis.strubeck@nortonrosefulbright.com>; Gluck, Kristian W.
<kristian.gluck@nortonrosefulbright.com>; Drake, Scott <scott.drake@nortonrosefulbright.com>; Smith, Laura
<laura.smith@nortonrosefulbright.com>; Hendrix, Nick <nick.hendrix@nortonrosefulbright.com>; Pat Neligan
<pneligan@neliganlaw.com>; sbr@BrewerAttorneys.com; William Noall <wnoall@Gtg.legal>; Talitha Gray
<tgray@Gtg.legal>; Gabby Hamm <ghamm@Gtg.legal>; Teresa Pilatowicz <tpilatowicz@Gtg.legal>; Dylan Ciciliano
<dciciliano@Gtg.legal>
Subject: NRA: Phillip Journey Deposition

[EXTERNAL]
Good evening counsel,
Please see the attached letter regarding the notice of deposition of Phillip Journey.

Gabrielle A. Hamm
Attorney

O: 725 777 3000 | D: 725 244 4596
F: 725 777 3112

GARMAN | TURNER | GORDON
7251 AMIGO STREET, SUITE 210
LAS VEGAS, NV 89119

Visit us online at www.gtg.legal




                                                               1
     Case 21-30085-hdh11 Doc 342-5 Filed 03/11/21                  Entered 03/11/21 10:23:18          Page 3 of 5


IMPORTANT NOTICE: This e‐mail, including any attachments, may be confidential, privileged or otherwise legally
protected. It is intended only for the addressee. If you received this e‐mail in error or from someone who was not
authorized to send it to you, do not disseminate, copy or otherwise use this e‐mail or its attachments. Please notify the
sender immediately by reply e‐mail and delete the e‐mail from your system.




                                                            2
Case 21-30085-hdh11 Doc 342-5 Filed 03/11/21                      Entered 03/11/21 10:23:18             Page 4 of 5




                                            STATE OF NEW YORK
                                      OFFICE OF THE ATTORNEY GENERAL

      LETITIA JAMES                                                                        DIVISION OF SOCIAL JUSTICE
     ATTORNEY GENERAL                                                                            CHARITIES BUREAU

                                                                                                 212.416.8965
                                                                                           Monica.Connell@ag.ny.gov

                                                                                              March 10, 2021
 Via Email

 Gregory T. Garman, Esq.
 7251 Amigo Street, Suite 210
 Las Vegas, NV 89119
 Email: ggarman@gtg.legal

                             Re:    In re: National Rifle Association of American and Sea Girt LLC
                             (“Debtors”); Objection to Notice of Intention to Take Oral Deposition of
                             the Honorable Phillip Journey
 Dear Greg:
         We just received your objection to the notice of deposition of the Hon. Phillip Journey
 tomorrow night. You object on the grounds that Judge Journey is an “NRA Witness” and was
 not identified as one of the seven we seek to depose. You also object based upon the short notice
 of the deposition. As set forth below, we do not believe your objections are well founded.
         First, during our lengthy meet and confers with Ms. Rogers of the Brewer firm, the
 Debtors made clear that they do not consider NRA Board members within their control, that
 Board members were represented by Board counsel and that we would have to separately
 subpoena Board members if we sought information from them. 1 Second, Judge Journey himself
 is a party in interest in this proceeding. He has brought a motion for the appointment of an
 examiner. He is not, as you represent, an “NRA witness.” Our agreement specifically does not
 limit third party depositions. Further, Debtor’s witnesses at the 341 hearings have led us to
 believe that in order to obtain knowledge of what actually occurred in Board meetings,
 particularly those relevant to the determination to file for bankruptcy, we will have to obtain
 testimony from Board members. Judge Journey is thus appropriately noticed.


 1
   There can be no doubt that the NRA has claimed Board members are not NRA witnesses. This evening, by email
 at 4:46 CST, in response to the NYAG’s requests regarding how the NRA (or others) could know what resolutions
 were passed or what was actually decided in executive sessions, you stated that Debtors would be willing to reach
 out to certain Board members in an “attempt to collect records in the possession of members” of certain committees
 but noted that such production could not take place in the time the NRA had agreed to for document production
 because “these collection efforts may require some additional time, since the documents requested are not within the
 NRA’s possession…The NRA reserves all rights, and waives none.”

                      28 LIBERTY STREET, NEW YORK, NY 10005 ● PHONE (212) 416-8401 ● WWW.AG.NY.GOV
     Case 21-30085-hdh11 Doc 342-5 Filed 03/11/21                        Entered 03/11/21 10:23:18              Page 5 of 5
Page 2                                                                                                     March 10, 2021
Greg T. Garman, Esq.

                 With regard to the short notice, it is an unfortunate necessity. We noticed and gave
        notice to the parties contemporaneously as soon as we could, working with Judge Journey’s
        schedule. The deposition will be narrow in scope and is limited to two hours on topics that are
        central to these cases, focusing primarily on whether the Debtors had authority to file for
        bankruptcy. The NRA has information regarding what occurred at Board meetings and in regard
        to the determination to file for bankruptcy. We do not have that same access or insight. The
        testimony at the 341 hearings has not been clear on this matter and our meet and confers with
        Ms. Rogers on the topic have not given us assurance that we will receive responsive information
        particularly on information given to the Board in executive session. We have limited time before
        the trial. 2 Frankly, it appears that the best course forward is to take this short and focused
        deposition of a party when Judge Journey is available. To the extent that you allege that it
        violates our agreement, that seven day notice provision pertains to party witnesses, not non-
        parties and it is our position that we exempted such discovery from the deposition limitations.
        We do agree that we have this deposition is being taken on short notice but assure you that the
        intent was to expeditiously obtain relevant information from non-NRA parties.
               To the extent that we cannot reach an agreement upon this, which we hope to do, we
        would ask the Court to permit the deposition to proceed.
                                                                                Very truly yours,

                                                                                /s/Monica Connell
                                                                                Monica Connell
                                                                                Special Counsel
                                                                                Assistant Attorney General


        cc:      All Counsel of Record




        2
          For example, for the first time today, you have lodged an objection regarding the deposition of the Debtors’
        corporate representative pursuant to 30(b)(6) which is scheduled to begin on Monday. We asked that you let us
        know whether you would be producing one person or more than one person or how you were dividing the topics if
        there was more than one representative which might help us have a meaningful meet and confer on this issue. That
        information could help the parties plan appropriately, particularly since the NYAG has agreed to share its deposition
        time with counsel for Ackerman McQueen, who has also moved. We have not received a response yet. We have
        received one deposition notice from you of the seven that you are permitted to notice under our agreement. We are
        very concerned that we are headed into the two weeks before trial with little knowledge of how Debtors intend to
        proceed. However, despite our requests, neither you nor Ms. Rogers have engaged with us to holistically discuss
        deposition schedules.




                28 LIBERTY STREET, NEW YORK, NY 10005 ● PHONE (212) 416-8401 ● FAX (212) 416-8393 ● WWW.AG.NY.GOV
